445 F.2d 857
    UNITED STATES of America, Plaintiff-Appellee,v.Cephus BRADLEY, Defendant-Appellant.
    No. 71-1766 Summary Calendar.*
    United States Court of Appeals, Fifth Circuit.
    August 11, 1971.
    
      Appeal from United States District Court, Northern District of Florida; David L. Middlebrooks, Jr., District Judge.
      Richard W. Grant, Marianna, Fla., Court-appointed for defendant-appellant.
      William Stafford, U. S. Atty., Clinton Ashmore, Asst. U. S. Atty., Tallahassee, Fla., for plaintiff-appellee.
      Before COLEMAN, SIMPSON and MORGAN, Circuit Judges.
      PER CURIAM:
    
    Affirmed. See Local Rule 21.1
    
      
        Notes:
      
      
        *
         Rule 18, 5 Cir.; See Isbell Enterprises, Inc. v. Citizens Casualty Company of New York et al., 5 Cir. 1970, 431 F.2d 409, Part I
      
      
        1
         See N.L.R.B. v. Amalgamated Clothing Workers of America, 5 Cir. 1970, 430 F.2d 966
      
    
    